                                                Case 8:16-cv-00018-GJH Document 1-1 Filed 01/05/16 Page 1 of 1
    1S 44 (Rev, 12112) .•                                          CIVIL COVER SHEET                                                                                                                                   GJH 16 CV 0 0 1 8
    The ~S 44 civil cover sheet and the i!"fomtation contained herein .neith,:r replace nor supplement .Ihe filin,: and service of pleadmgs or ~ther papers ,as re'Julred by, law, .except as
    provided by local rules of court. Tht,s foml, approved by the JUdlCl3lConterence of the United States In'September 197-4,ISreqUired tor the usc ot the Clerk of Co un lor the
    purpose of imtiating the civil dock~t!ge~I~, (S,,",:/.\':'''~/U!( 'PO,\'s.()S.Xlxr I'A( if;' (IF 1IIIS U )JUl.)

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         Ib) County of Residence of First Listed Plaintiff                                                  DI_~~.-h--"1Jc)f G)/~I ~                               County of ResIdence ofFir,st,I..ls~ed D,e_tc~,~~m
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\        (c)     Attorneys (F,,.m ;\'/II/It'. Add,..'_,_" </n</7,:11,'1'"""" .•.•.
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                  Defendant                                                               ('ffI:"",llIr
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    VI. CAUSE OF ACTION                                            f::--=---.,.-,-------------------------------
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    VII. REQUESTED IN                                              o      CHECK IF TillS IS A CL,\SS ,\CTIO.\                                               D[\I:\\n S                                                   ('I lEeK YES only If demanded in complaint
         COMPLAINT:                                                       UNDER RULE 23. F.R (v,P.                                                                                                                       ,Inn' 1l['\1.\\II:                             ,:l Yes           uNo

    VIII. RELATED CASE(S)
          IF' ANY                                                                                             JUDGE               _____________                                                                DOCKET NU~IBER
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